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10
                          IN THE UNITED STATES DISTRICT COURT
11
                       FOR THE NORTHERN DISTRICT OF CALIFORNIA
12

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14   STATE OF CALIFORNIA, STATE OF                 Case No. 25-cv-___________
     COLORADO, STATE OF DELAWARE,
15   COMMONWEALTH OF
     MASSACHUSETTS, STATE OF NEW
16   JERSEY, STATE OF NEW MEXICO,
     STATE OF NEW YORK, STATE OF
17   OREGON, STATE OF RHODE ISLAND,                COMPLAINT FOR DECLARATORY
     STATE OF VERMONT, and STATE OF                AND INJUNCTIVE RELIEF
18   WASHINGTON
                                                   Administrative Procedure Act Case
19                                   Plaintiffs,
20                v.
21
     UNITED STATES OF AMERICA, U.S.
22   ENVIRONMENTAL PROTECTION
     AGENCY, LEE ZELDIN, in his official
23   capacity as Administrator of the U.S.
     Environmental Protection Agency, and
24   DONALD J. TRUMP, in his official capacity
     as President of the United States,
25

26                                  Defendants.

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 1                                            INTRODUCTION
 2         1.    When Congress directed the United States Environmental Protection Agency (EPA)

 3   to regulate harmful emissions from new motor vehicles, 42 U.S.C. § 7521(a), it also preempted

 4   States from setting such standards, id. § 7543(a). But, recognizing that California had already

 5   developed deep expertise in vehicle emissions control and that the State suffers from severe air

 6   pollution challenges, Congress directed EPA to “waive” this preemption for California, unless

 7   record evidence supports one of three limited bases for declining to do so. Id. § 7543(b)(1).

 8         2.    Congress’s choice to allow California “to continue and expand its pioneering efforts”

 9   (pursuant to preemption waivers granted by EPA) has meant that the State “act[s] as a kind of

10   laboratory for innovation” for vehicular emission controls, thereby advancing a core value of

11   federalism while encouraging technological innovation for the protection of public health and

12   welfare. Motor & Equip. Mfrs. Ass’n, Inc. v. EPA (“MEMA I”), 627 F.2d 1095, 1111 (D.C. Cir.

13   1979); see also New State Ice Co. v. Liebmann, 285 U.S. 262, 386-87 (1932) (Brandeis, J.,

14   dissenting) (“It is one of the happy incidents of the federal system that a single courageous state

15   may, if its citizens choose, serve as a laboratory; and try novel social and economic experiments

16   without risk to the rest of the country.”).

17         3.    This Clean Air Act waiver provision was enacted in 1967, and EPA has granted

18   California more than seventy-five preemption waivers for updates to the State’s new motor

19   vehicle emissions control program. As Congress intended, these waivers have allowed California

20   to “improve on ‘its already excellent program,’” to foster technological advancements, and to

21   protect Californians from harmful pollution. See MEMA I, 627 F.2d at 1110 (quoting S. Rep. No.

22   403, 90th Cong., 1st Sess. 33 (1967)).

23         4.    Between April 2023 and January 2025, EPA granted California’s requests for three

24   Clean Air Act preemption waivers, authorizing enforcement of the State’s latest additions to its

25   regulatory program, including the Advanced Clean Trucks, Advanced Clean Cars II, and

26   Omnibus Low NOx (“Omnibus”) regulations. See 88 Fed. Reg. 20,688 (Apr. 6, 2023); 90 Fed.

27   Reg. 642 (Jan. 6, 2025); 90 Fed. Reg. 643 (Jan. 6, 2025). Pursuant to Section 177 of the Clean

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 1   Air Act, 42 U.S.C. § 7507, other States—including Plaintiffs here—have adopted these California
 2   standards as their own.
 3         5.    On May 22, 2025, the Senate joined the House in adopting three Resolutions,
 4   purporting to “disapprove[]” these waivers. H.J. Res. 87, 88, 89 (119th Congress).
 5   (“Resolutions”). The President signed the Resolutions on June 12, 2025. In so doing, the Federal
 6   Government “singled out” these waivers—and the underlying California regulations—for an
 7   unprecedented attack, South Carolina v. Baker, 485 U.S. 505, 513 (1988), employing a statute—
 8   the Congressional Review Act (CRA)—deemed inapplicable by every nonpartisan arbiter and
 9   expert who analyzed the question. The Plaintiff States—California, Colorado, Delaware,
10   Massachusetts, New Jersey, New Mexico, New York, Oregon, Rhode Island, Vermont, and
11   Washington—challenge these unlawful Resolutions, which purport to prevent these States from
12   enforcing laws they have chosen to adopt within their jurisdictions.
13         6.    The CRA was enacted to facilitate congressional review of certain federal agency
14   rules. 5 U.S.C. § 801(a)(1)(A); id. § 804(3) (defining “rule”). Where it applies, it creates a
15   narrow exception to the filibuster that enables the Senate to adopt a resolution disapproving of a
16   federal agency’s rule with a simple majority vote. Id. § 802(d)(1). The CRA also limits Senate
17   debate over a given resolution to a maximum of five hours per side. Id. § 802(d)(2). If a CRA
18   resolution disapproving of a federal agency’s rule is enacted, the targeted rule ceases to have legal
19   effect. Id. § 801(b)(1). And “a new rule that is substantially the same … may not be issued,”
20   absent further, specific congressional authorization. Id. § 801(b)(2).
21         7.    While all fifty States consented—through their Senators—to these expedited
22   procedures for congressional disapproval of federal rules, no State consented to the CRA as a
23   means for Congress to negate state rules. Nor would any State have done so. States do not so
24   easily surrender “the dignity … of sovereignty” they retain in our system of government. Alden
25   v. Maine, 527 U.S. 706, 715 (1999).
26         8.    Cabining the CRA to federal rules is also consistent with the principle that the
27   Federal Government does not “impose its will on the States … lightly”—e.g., through a process
28   with severely constrained debate. Gregory v. Ashcroft, 501 U.S. 452, 460 (1991). To the
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 1   contrary, the Framers intentionally designed the Federal Government to “partake sufficiently of
 2   the spirit [of the States]” such that it would “be disinclined to invade the rights of the individual
 3   States, or the prerogatives of their governments.” Garcia v. San Antonio Metro. Transit Auth.,
 4   469 U.S. 528, 551 (1985) (quoting The Federalist No. 46, p. 332).
 5         9.     The Federal Government ran roughshod over federalism and separation of powers
 6   principles in applying the CRA to these three preemption waiver decisions. It did so despite
 7   EPA’s decades-old, consistent position—reiterated in each of the three actions at issue—that
 8   preemption waiver decisions are not “rules” and, accordingly, “the Congressional Review Act …
 9   does not apply.” E.g., 88 Fed. Reg. 20,688, 20,726 (Apr. 6, 2023). The Federal Government also
10   blithely disregarded the legal conclusions of every nonpartisan arbiter upon whom Congress
11   otherwise relies for determining the CRA’s applicability—all of whom concluded that use of the
12   CRA here would be unlawful.
13         10.    In fact, the CRA has never before been used in any context that resembles this one. It
14   has certainly never been used, as it was here, to negate particular state laws.
15         11.    The President, his EPA Administrator, and Congressional leadership took these
16   unprecedented steps because they saw the CRA as a quick and easy way to “take … down”
17   California’s regulations. Times of San Diego, Republicans in Congress Are Preparing to Break
18   Decades of Precedent to Block Climate Policy (Feb. 27, 2025) (quoting Senator Capito). 1 They
19   appear to have agreed with the argument that the CRA should be used—despite its obvious
20   inapplicability—because “[w]aivers take years to roll back through the administrative process”
21   and ”ordinary legislation … would have to overcome the 60-vote filibuster in the Senate.”
22   Boyden Gray PLLC, Buschbacher, Conde Discuss How to Overturn CA’s EV Mandate in the
23   Wall Street Journal (Jan. 9, 2025). 2
24         12.    With every step, the “workings of the National Government” failed to follow the law
25   and likewise failed to honor the “special restraints on federal power over the States.” Garcia, 469
26   U.S. at 552. The “extraordinary defects” in the “national political process” that produced these
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                Available at https://perma.cc/8GQV-LQEN, last visited May 15, 2025.
28          2
                Available at https://perma.cc/D59T-Q7JB, last visited May 17, 2025.
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 1   Resolutions renders them unlawful and “invalid under the Tenth Amendment” and principles of
 2   structural federalism. South Carolina, 485 U.S. at 512. That Congress violated separation of
 3   powers principles along the way only underscores the unconstitutionality of the Resolutions.
 4         13.    This Court should declare that the Resolutions have no effect on the status or
 5   enforceability of state emissions control programs. This Court should also require EPA to
 6   implement the Clean Air Act, including Section 209(b)(3), 42 U.S.C. § 7543(b)(3), in a manner
 7   consistent with the three waivers as granted.
 8                                                 PARTIES
 9         14.    Plaintiff State of California is a sovereign state in the United States of America.
10   California is represented by and through Attorney General Rob Bonta, the chief law enforcement
11   officer of California; Governor Gavin Newsom, the chief executive officer of the State; and the
12   California Air Resources Board (CARB), the state agency that developed and promulgated the
13   state regulations at issue, including the Advanced Clean Cars II, Advanced Clean Trucks, and
14   Omnibus regulations. See, e.g., Cal. Code Regs., tit. 13, §§ 1961.4, 1962.4; id. § 1963 et seq.; id.
15   §§ 1956.8, 1961.2.
16         15.    Plaintiff State of Colorado is a sovereign state in the United States of America.
17   Colorado is represented by Philip J. Weiser, the Attorney General of Colorado. The Attorney
18   General acts as the chief legal representative of the state and is authorized by Colo Rev. Stat.
19   § 24-31-101 to pursue this action. Colorado has adopted the Advanced Clean Cars II (for model
20   years 2027-2032), Advanced Clean Trucks, and Omnibus regulations. See 5 Colo. Code Regs.
21   § 1001-24.
22         16.    Plaintiff State of Delaware, represented by and through its Attorney General,
23   Kathleen Jennings, is a sovereign state of the United States of America. The Attorney General is
24   Delaware’s chief law enforcement officer and is authorized to pursue this action pursuant to 29
25   Del. C. § 2504. Delaware has adopted the Advanced Clean Cars II regulation. See 7 Del. Admin.
26   C. § 1140.
27         17.    Plaintiff the Commonwealth of Massachusetts is a sovereign state of the United States
28   of America. Massachusetts is represented by Attorney General Andrea Joy Campbell, who is the
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 1   chief law enforcement officer of Massachusetts. The Commonwealth of Massachusetts has
 2   adopted the Advanced Clean Cars II, Advanced Clean Trucks, and Omnibus regulations. See 310
 3   C.M.R. §§ 7.40(1)(c) Tbls. 1 & 2, 7.40(1)(d)(3)-(5).
 4         18.   Plaintiff State of New Jersey is a sovereign state in the United States of America.
 5   New Jersey is represented by Attorney General Matthew Platkin, who is the chief law
 6   enforcement officer of New Jersey. New Jersey has adopted the Advanced Clean Cars II,
 7   Advanced Clean Trucks, and Omnibus regulations. See N.J.A.C. 7:27-29A.7; N.J.A.C. 7:27-
 8   31.4; N.J.A.C. 7:27-28A.11.
 9         19.   Plaintiff State of New Mexico is a sovereign state in the United States of America.
10   New Mexico is represented by Attorney General Raúl Torrez, who is the chief law enforcement
11   officer authorized by N.M. Stat. Ann. § 8-5-2 to pursue this action. New Mexico has adopted the
12   Advanced Clean Cars II, Advanced Clean Trucks, and Omnibus regulations. See 20.2.91.102 (C)
13   New Mexico Administrative Code.
14         20.   Plaintiff State of New York is a sovereign state of the United States of America. As a
15   body politic and a sovereign entity, it brings this action on behalf of itself and as trustee,
16   guardian, and representative of all residents, and political subdivisions of New York. Attorney
17   General Letitia James is the chief law enforcement officer for New York. New York has adopted
18   the Advanced Clean Cars II, Advanced Clean Trucks, and Omnibus regulations. See N.Y. Comp.
19   Codes R. & Regs., tit. 6, Part 218 and Section 200.9.
20         21.   Plaintiff State of Oregon is a sovereign state of the United States of America. Oregon
21   is represented by Attorney General Dan Rayfield, who is Oregon’s chief legal officer and is
22   authorized to represent the State in this Court. Oregon has adopted the Advanced Clean Cars II,
23   Advanced Clean Trucks, and Omnibus regulations. See Or. Admin. R. 340-257-0020 to -0095;
24   340-257-0200 to -0230; 340-261-0010 to -0090.
25         22.   Plaintiff State of Rhode Island is a sovereign state in the United States of America.
26   Rhode Island is represented by Attorney General Peter F. Neronha, who is the chief law
27   enforcement officer of Rhode Island. Rhode Island has adopted the Advanced Clean Cars II,
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 1   Advanced Clean Trucks, and Omnibus regulations. See 250-RICR-120-05-37; 250-RICR-120-
 2   05-37.4(B)(1) Tbls. 1 & 2.
 3         23.   Plaintiff State of Vermont is a sovereign state of the United States of America.
 4   Vermont is represented by Attorney General Charity R. Clark, who is Vermont’s chief legal
 5   officer and is authorized to pursue this action on behalf of the State. Vt. Stat. Ann. tit. 3, § 159.
 6   Vermont has adopted the Advanced Clean Cars II, Advanced Clean Trucks, and Omnibus
 7   regulations. See Vt. Code R. § 12.030-040.
 8         24.   Plaintiff State of Washington is a sovereign state of the United States of America.
 9   Washington is represented by Attorney General Nicholas W. Brown. The Attorney General of
10   Washington is the chief legal adviser to the State and is authorized to act in federal court on
11   behalf of the State on matters of public concern. See Chapter 43.10 RCW. Washington has
12   adopted the Advanced Clean Cars II, Advanced Clean Trucks, and Omnibus regulations. See
13   Wash. Admin. Code § 173-423-030.
14         25.   Defendant United States is the Federal Government of the United States of America.
15         26.   Defendant EPA is a federal agency.
16         27.   Defendant Lee Zeldin is the EPA Administrator. He is sued in his official capacity.
17         28.   Defendant Donald J. Trump is the President of the United States. He is sued in his
18   official capacity.
19                JURISDICTION, VENUE, AND INTRADISTRICT ASSIGNMENT
20         29.   This Court has jurisdiction under 28 U.S.C. § 1331 (action arising under the
21   Constitution or laws of the United States). An actual controversy exists between the parties
22   within the meaning of 28 U.S.C. § 2201(a), and the Court may grant declaratory relief, injunctive
23   relief, and other relief against Defendants pursuant to 28 U.S.C. §§ 2201, 2202 and the Court’s
24   equitable powers.
25         30.   5 U.S.C. § 805 does not strip this Court of its jurisdiction because (a) Plaintiffs
26   challenge actions and/or determinations that fall outside the scope of that provision; (b) Plaintiffs
27   raise constitutional issues to which that provision does not apply; and/or (c) it would be
28   unconstitutional to apply that provision to Plaintiffs’ claims. Indeed, this case presents precisely
                                                       6
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 1   the kinds of “questions of intricacy and nicety” about federalism that the courts alone can resolve.
 2   New York v. United States, 505 U.S. 144, 155 (1992) (quoting The Federalist No. 82, p. 491 (C.
 3   Rossiter ed. 1961)).
 4         31.   Venue is proper in this District under 28 U.S.C. § 1391(e) because this is a judicial
 5   district in which the State of California resides for purposes of that provision.
 6         32.   Under Civil Local Rules 3-2(c) and 3-5(b), Plaintiffs allege that there is no basis for
 7   assignment of this action to any particular location or division of this Court.
 8                                      FACTUAL BACKGROUND
 9   I.    Congress Enacted the Clean Air Act Waiver Provision to Allow California’s
           Regulatory Program to Continue with Minimal Federal Oversight
10
           33.   From the inception of efforts to limit vehicular air pollution, California led the way.
11
     The State’s “interest in pollution control from motor vehicles dates to 1946,” MEMA I, 627 F.2d
12
     at 1109 n.26, and California’s legislature mandated statewide motor vehicle emission standards
13
     beginning in the 1950s, see 1959 Cal. Stat. 2091. By contrast, “[n]o federal statute purported to
14
     regulate emissions from motor vehicles until 1965.” MEMA I, 627 F.2d at 1108; see also Pub. L.
15
     No. 89-272, § 202, 79 Stat. 992 (1965).
16
           34.   When Congress took up the mantle of federal vehicle emission regulation, it
17
     recognized both California’s extraordinary air pollution challenges and the value of state-level
18
     experimentation. Congress therefore opted to allow the State to continue and “improve on ‘its
19
     already excellent program.’” MEMA I, 627 F.2d at 1110 (quoting S. Rep. No. 403, 90th Cong.,
20
     1st Sess. 33 (1967)). Accordingly, while it preempted other States from regulating emissions
21
     from new motor vehicles, Congress required EPA to waive that preemption for California except
22
     in narrow circumstances. Pub. L. No. 90-148, § 208(b), 81 Stat. 485, 501 (1967). 3 Under this
23
     waiver provision, California promulgates its own standards through a state rulemaking
24
     proceeding, determines that its state program is at least as protective as EPA’s, and requests a
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             The 1967 Act gave this authority to the Secretary of Health, Education, and Welfare. In
     1970, Congress transferred this authority to the Administrator of the newly created EPA. Pub. L.
28   No. 91-604, § 15(c)(2), 84 Stat. 1676, 1713 (1970).
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                                                                                Complaint (25-cv-_________)
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 1   waiver of preemption from EPA. 42 U.S.C. § 7543(b)(1); see also 42 U.S.C. § 7543(b)(1)(A)-(C)
 2   (identifying exclusive findings that can support EPA’s denial of California’s request for waiver).
 3         35.   Consistent with the principle that Congress does not “impose its will on the States …
 4   lightly,” Gregory, 501 U.S. at 460, the questions about whether and how to preempt state
 5   regulation of new motor vehicle emissions were heavily debated. The precise text of the waiver
 6   provision was the subject of particularly rigorous discussion, with competing versions offered by
 7   the House and Senate. The Senate version provided that the waiver “shall” be granted (absent
 8   certain limited findings), while the House version made waivers discretionary through the use of
 9   the word “may.” See 113 Cong. Rec. 30,956-57 (1967); see also id. at 30,950, 30,952.
10         36.   The Senate’s use of “shall” was described as a “guarantee[]” that California could
11   regulate, id. at 30,952, with the “burden … on the [agency] to show why California … should not
12   be allowed to [do so],” H.R. Rep. No. 90-728, at 96 (1967). By contrast, the House’s use of
13   “may” was characterized as placing California “at the mercy of” the Federal government, forcing
14   the State “to come with hat in hand to Washington.” 113 Cong. Rec. at 30,941, 30,955; see also
15   H.R. Rep. No. 90-728, at 96 (“Are we now to tell California that we don’t quite trust her to run
16   her own program, that big government should do it instead?”).
17         37.   Congress opted for “shall,” 42 U.S.C. § 7543(b)(1), “consciously choos[ing] to permit
18   California to blaze its own trail with a minimum of federal oversight,” Ford Motor Co. v. EPA,
19   606 F.2d 1293, 1297 (D.C. Cir. 1979). 4
20         38.   The decision to allow California to continue and expand its state-level program
21   reflected a careful congressional compromise, balancing the benefits—for the State and “the
22   entire country”—of preserving “a kind of laboratory for innovation,” Engine Mfrs. Ass’n v. EPA,
23   88 F.3d 1075, 1080 (D.C. Cir. 1996), against automakers’ fears of “having to meet fifty-one
24   separate sets of emissions control requirements,” MEMA I, 627 F.2d at 1109-10. This
25   compromise ensured that California’s “government will represent and remain accountable to its
26   own citizens,” Printz v. United States, 521 U.S. 898, 920 (1997), while also ensuring
27
            4
              In the 1970 CAA amendments, the waiver provision (originally Section 208(b)) was
28   recodified as Section 209(b), 42 U.S.C. § 7543(b). Pub. L. No. 91-604, § 8(a), 84 Stat. at 1694.
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 1   manufacturers must meet no more than two different sets of emission standards—California’s
 2   state standards and EPA’s federal ones. And, as intended, this compromise has allowed
 3   California to continue addressing the “harsh reality” of the State’s pollution problems using its
 4   expertise in regulating vehicular emissions. See H.R. Rep. No. 90-728, at 96-97 (1967); see also
 5   S. Rep. No. 90-403, at 33 (1967).
 6         39.    As part of the 1977 Clean Air Act Amendments, Congress noted with approval that
 7   EPA had been readily granting waivers to California, consistent with Congress’s intent. H.R.
 8   Rep. No. 94-1175 at 247 (1976); see also MEMA I, 627 F.2d at 1110 n.32. Congress nonetheless
 9   sought to “ratify and strengthen” the waiver provision in order “to afford California the broadest
10   possible discretion in selecting the best means to protect the health of its citizens and the public
11   welfare.” H.R. Rep. No. 95-294, at 301-02 (1977). Specifically, Congress amended the waiver
12   provision’s text, removing the original requirement that each California standard be more
13   stringent than its federal counterpart and allowing the protectiveness of the state’s program to be
14   measured by viewing all the “state standards, in the aggregate.” 42 U.S.C. § 7543(b)(1).
15         40.    Congress also opted to permit other States to choose to adopt “standards … identical
16   to the California standards for which a waiver has been granted” under certain conditions, 42
17   U.S.C. § 7507, thereby respecting state authority to protect residents and natural resources while
18   maintaining the commitment that manufacturers would be subject to no more than two sets of
19   standards.
20         41.    EPA has granted California more than seventy-five Clean Air Act preemption
21   waivers as the State has expanded and strengthened its requirements that manufacturers reduce
22   emissions from the vehicles they sell in the State. See EPA, Vehicle Emissions California
23   Waivers and Authorizations. 5 EPA has granted such waivers under Democratic and Republican
24   Presidents alike. See id. And these waivers are—and have been—subject to judicial review in
25   the appropriate Court of Appeals. 42 U.S.C. § 7607(b)(1).
26         42.    Among these previously granted waivers are those for California’s zero-emission-
27   vehicle (ZEV) requirements for passenger cars and light trucks. 58 Fed. Reg. 4166 (Jan. 13,
28          5
                Available at https://perma.cc/9F5K-QC79, last visited May 14, 2025.
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                                                                                Complaint (25-cv-_________)
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 1   1993); 71 Fed. Reg. 78,190 (Dec. 28, 2006); 78 Fed. Reg. 2112 (Jan. 9, 2013). 6 The State first
 2   adopted such requirements in 1990, Cal. Code Regs. tit. 13, § 1960.1(g)(2) (1991), and has made
 3   them increasingly more stringent over time.
 4         43.   One of the three waivers at issue here authorized the Advanced Clean Cars II
 5   regulation which extended and gradually strengthened California’s ZEV requirements for
 6   passenger cars and light trucks such that, by model year 2035, at least 80% of such vehicles sold
 7   in California would be zero-emission, while the other 20% could be plug-in hybrids. Cal. Code
 8   Regs., tit. 13, § 1962.4(c), (e)(1)(C). That regulation also strengthened several emission
 9   standards for vehicles with internal combustion engines, requiring reduced emissions of fine
10   particulate matter and smog-forming oxides of nitrogen. Id. § 1961.4.
11         44.   Another of the waivers at issue here authorized, inter alia, the Advanced Clean
12   Trucks regulation—designed to build on the success of the California ZEV requirements
13   described above by requiring gradual increases in sales of medium- and heavy-duty ZEVs
14   beginning with model year 2024. Cal. Code Regs., tit. 13, § 1963.1(b). This regulation was
15   adopted in 2021, and manufacturers began earning early credits for ZEV sales that year. CARB,
16   Advanced Clean Trucks Credits Summary as of March 31, 2022. 7 Indeed, manufacturers
17   “generated enough credits to meet the estimated 2024 model year compliance obligations” before
18   that model year even commenced. CARB, Advanced Clean Trucks Credit Summary through the
19   2023 Model Year (May 22, 2024). 8
20         45.   The third of the waivers at issue here authorized California’s “Omnibus” regulation
21   which requires manufacturers of heavy-duty (mostly diesel-fueled) trucks to reduce smog-
22   forming emissions beginning with model year 2024 and then further reduce those emissions in
23   model year 2027 and beyond. Cal. Code Regs., tit. 13, § 1956.8.
24         46.   Despite decades of progress, tens of millions of Californians live, study, work, or play
25   in regions that continue to experience some of the worst air quality in the Nation. American Lung
26
            6
               A zero-emission vehicle is one that—like an electric or hydrogen vehicle—has zero
27   tailpipe emissions of any pollutant.
             7
               Available at https://perma.cc/2DHP-FUR9, last visited May 24, 2025.
28           8
               Available at https://perma.cc/7B5E-2RBG, last visited May 24, 2025.
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                                                                              Complaint (25-cv-_________)
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 1   Association, State of the Air 2025 Report 15-16, 18-19. 9 The State faces particularly severe
 2   challenges to meet public health standards for ozone (or smog) and fine particulate matter. Id.
 3   The regulations covered by the waivers at issue are crucial parts of comprehensive plans to meet
 4   those public health standards and improve the air Californians breathe. California Air Resources
 5   Board, 2022 State Strategy for the State Implementation Plan 55, 65 (Sept. 22, 2022). 10
 6         47.    All of these regulations apply only in California and other States that have chosen to
 7   adopt one or more of the regulations, pursuant to the option provided by Congress in the Clean
 8   Air Act. See 42. U.S.C. § 7507.
 9   II.   Congress Enacted the Congressional Review Act to Enhance Its Oversight of
           Generally Applicable Federal Rules and, Prior to these Resolutions, Has Only
10         Used It for that Purpose
11         48.    When Republicans took control of both chambers of Congress after the 1994 midterm
12   elections, they credited their election victory to the “Contract with America,” which contained a
13   promise to push for federal regulatory reform, including shrinking the size of the federal
14   government. See S. Rep. 104-15, at 3 (Mar. 16, 1995) (describing 1994 elections as sending “a
15   clear message to Washington that [Americans] want a smaller, more efficient, and more effective
16   government”).
17         49.    Once in office, the Republican majority in the House attempted to impose a
18   moratorium on all new federal regulations “to ensure economy and efficiency of Federal
19   Government Operations.” H.R. Rep. No. 104-39, at 1 (Feb. 16, 1995). That effort failed.
20         50.    The push for federal regulatory reform then evolved into what became known as the
21   Small Business Regulatory Enforcement Fairness Act and the CRA, both of which were
22   incorporated into a broader, bipartisan bill: the Contract with America Advancement Act of
23   1996. Pub. L. 104-121, 110 Stat. 847 (Mar. 29, 1996). That Act also contained an increase to the
24   Nation’s debt limit and an increase to the limit on income Social Security recipients may earn
25   without losing benefits. 110 Stat. at 847, 875. That broader bill passed the House by a bipartisan
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                Available at https://perma.cc/G2RK-V9BM, last visited May 24, 2025.
28          10
                Available at https://perma.cc/X2Y9-LQ4N, last visited May 24, 2025.
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 1   vote of 328 to 91. The House bill then passed, without amendment, by unanimous consent in the
 2   Senate. 142 Cong. Rec. S3114 (Mar. 28, 1996).
 3         51.   The CRA requires a “Federal agency” that has promulgated a “rule” to submit the
 4   rule, along with its “proposed effective date” and other information, to Congress and the
 5   Government Accountability Office (GAO) “[b]efore a rule can take effect.” 5 U.S.C.
 6   § 801(a)(1)(A) (emphasis added).
 7         52.   Underscoring that it applies only to federal rules, the CRA defines the federal agency
 8   actions to which it applies by way of the federal Administrative Procedure Act’s (APA) definition
 9   of “rule.” 5 U.S.C. § 804(3) (cross-referencing 5 U.S.C. § 551). The CRA then narrows the APA
10   definition by, among other things, excluding “any rule of particular applicability.” Id.
11         53.   Congress has 60 session days from the agency’s submission to adopt a resolution to
12   disapprove a particular rule. 5 U.S.C. § 802(a). The text of such resolutions is prescribed by the
13   statute as follows: “That Congress disapproves the rule submitted by the __ relating to __, and
14   such rule shall have no force or effect.” Id. The first blank is filled in with the agency’s name
15   and the second is typically filled in with the title of the Federal Register notice announcing the
16   final rule. E.g., H.J. Res. 35 (approved Mar. 14, 2025). After a joint resolution of disapproval, “a
17   new rule that is substantially the same … may not be issued, unless [it] is specifically authorized
18   by a law enacted after the date of the joint resolution disapproving the original rule.” 5 U.S.C.
19   § 801(b)(2).
20         54.   If an agency fails to submit an action that one or more members of Congress believe
21   is a “rule” subject to the CRA, those members may ask the GAO for a determination.
22   Congressional Research Service, The Congressional Review Act: Determining Which “Rules”
23   Must Be Submitted to Congress 23 (updated Oct. 22, 2024). 11 In that case, if the GAO concludes
24   the agency action is or is not subject to the CRA, Congress treats that conclusion as dispositive.
25   Id. (“Thus, the question of whether Congress may use the CRA’s fast-track parliamentary
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            11
              Available at The Congressional Review Act: Determining Which “Rules” Must Be
28   Submitted to Congress | Congress.gov | Library of Congress, last visited May 21, 2025.
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 1   disapproval mechanism generally hinges upon the determination reached in GAO’s opinion in
 2   such cases.”).
 3         55.     In the Senate, the consideration of CRA resolutions is highly expedited. The CRA
 4   creates an exception to the filibuster, so that resolutions of disapproval require only a simple
 5   majority to pass. 5 U.S.C. § 802(d)(1). And motions, amendments, and even debate are all
 6   severely limited. Id. §§ 802(d)(1), 802(d)(2). Specifically, debate about the resolution and any
 7   “debatable motions and appeals in connection therewith, shall be limited to not more than 10
 8   hours, which shall be divided equally between those favoring and those opposing the joint
 9   resolution.” Id. § 802(d)(2). Although other motions are not “in order” and thus not permitted,
10   “[a] motion further to limit debate”—to less than 10 hours—“is in order and not debatable.” Id.
11         56.     The CRA also provides that “no determination, finding, action, or omission under [it]
12   shall be subject to judicial review.” 5 U.S.C. § 805.
13         57.     Nothing in the CRA—or the broader Contract with America Advancement Act of
14   1996—indicates Congress was contemplating the use of the CRA to negate state rules or to
15   otherwise alter federal limits on state authority. To the contrary, the text of the CRA is
16   exclusively concerned with federal rules promulgated by federal agencies. E.g., 5 U.S.C.
17   § 801(a)(1)(B) (referring to “the Federal agency promulgating the rule”). So, too, were other
18   parts of the broader bill that contained the CRA. E.g., Pub. L. 104-121, 110 Stat. at 857
19   (“fundamental changes … are needed in the regulatory and enforcement culture of Federal
20   agencies”).
21         58.     The absence of any mention of state rules or state authority is particularly telling
22   because Congress does not lightly exercise its power to “impose its will on the States.” Gregory,
23   501 U.S. at 460. Many features of the CRA—including its constraints on debate and its barriers
24   to judicial review—are entirely inconsistent with that principle.
25         59.     Moreover, the Framers intended “[t]he difficulty of legislating at the federal level …
26   to preserve room for lawmaking by governments” like States, which are “more local and more
27   accountable than a distant federal authority.” West Virginia v. EPA, 597 U.S. 697, 739 (2022)
28   (Gorsuch, J., concurring). As the 1967 debate over the Clean Air Act’s preemption and waiver
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 1   provisions indicate, had Congress contemplated that the CRA could be used to hamstring state
 2   authority, that would have been the topic of fierce debate.
 3         60.   Until these Resolutions, Congress had never applied the CRA to an agency action
 4   outside the statute’s intended and explicit scope.
 5         61.   Specifically, no previous use of the CRA disapproved of a federal agency action that
 6   waived preemption or otherwise authorized States to proceed with their own regulatory programs.
 7   Congress has never, for example, even considered using the CRA to disapprove EPA’s actions to
 8   authorize States to implement permitting programs under the Clean Water Act—even when EPA
 9   has “rush[ed] to transfer this permitting authority to [a State] in the final days” of a presidential
10   administration. See Ctr. for Biological Diversity v. Regan, 734 F. Supp. 3d 1, 11 (D.D.C.),
11   judgment entered, 729 F. Supp. 3d 37 (D.D.C. 2024) (appeal pending). Congress has likewise
12   never even considered using the CRA to disapprove of waivers that allow individual States “to
13   test new or existing ways to deliver and pay for health care services in Medicaid and the
14   Children’s Health Insurance Program (CHIP).” See Centers for Medicare & Medicaid Services,
15   State Waivers List. 12
16         62.   Likewise, Congress has never considered using the CRA to disapprove federal agency
17   orders that, like these preemption waivers, permit conduct that would otherwise be prohibited.
18   For example, Congress has never considered using the CRA to disapprove of a radio spectrum
19   license, mining permit, or oil lease.
20   III. For Half a Century, and Regardless of Which Party Occupied the White House,
          Clean Air Act Preemption Waivers Have Been Understood to Be Adjudicatory
21        Orders, Not Rules
22         63.   The text of the Clean Air Act demonstrates that Congress has always understood the
23   difference between federal vehicle emission standards (which are federal rules) and decisions to
24   waive preemption for state vehicle emission standards (which are not). Where Congress
25   delegated rulemaking power over vehicle emissions to EPA, it directed the agency to
26   “prescribe … standards,” 42 U.S.C. § 7521(a)(1), consistent with the APA’s definition of rules as
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            12
             Available at https://www.medicaid.gov/medicaid/section-1115-demo/demonstration-
28   and-waiver-list, last visited May 8, 2025.
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 1   “prescrib[ing] law,” 5 U.S.C. § 551(4). By contrast, Congress “sharply restricted [EPA’s] role in
 2   a waiver proceeding.” MEMA I, 627 F.2d at 1121. Far from delegating rulemaking authority to
 3   EPA, the waiver provision anticipates that California will prescribe “State standards” and
 4   determine whether its standards “will be, in the aggregate, at least as protective” as EPA’s. 42
 5   U.S.C. § 7543(b)(1). Thus, the waiver provision only empowers EPA to “waive application” of
 6   the preemption provision to California, not to make rules. Id.
 7         64.   Congress confirmed as much when it omitted waiver decisions from the list of EPA
 8   Clean Air Act actions to which the Act’s “[r]ulemaking” requirements apply. 42 U.S.C.
 9   § 7607(d)(1).
10         65.   Until its post-hoc actions challenged here, EPA had likewise consistently maintained
11   that its waiver decisions are not rules and therefore are not subject to a host of requirements that
12   apply only to rules—including Executive Order 12866, the Regulatory Flexibility Act (5 U.S.C.
13   § 601(2)), and the CRA. This had been EPA’s position through Administrations of both parties,
14   regardless of whether EPA granted a waiver request or denied it. Thus, EPA’s waiver decisions
15   have consistently specified “this action is not a rule.” 75 Fed. Reg. 70,237, 70,241 (Nov. 17,
16   2010); see also, e.g., 69 Fed. Reg. 59,920, 59,922 (Oct. 6, 2004) (“The CRA does not apply …
17   because this action is not a rule.”); 73 Fed. Reg. 12,156, 12,169 (Mar. 6, 2008) (“As with past
18   waiver decisions, this action is not a rule….”). EPA maintained this position when the first
19   Trump Administration purported to withdraw parts of a waiver EPA had granted six years earlier.
20   84 Fed. Reg. 51,310, 51,352 (Sept. 27, 2019) (“EPA’s action here … is not a rule ..., consistent
21   with its previous actions on waiver requests….”). 13
22         66.   The GAO—the entity on which Congress relies for CRA applicability
23   determinations—has agreed. When asked by members of Congress whether a 2022 waiver action
24   was a “rule” subject to the CRA, the GAO concluded that the action “meets the statutory
25   definition of an order,” rather than a rule. GAO Decision B-334309, Environmental Protection
26          13
              This Federal Register notice was submitted to the Office of Management and Budget
     under Executive Order 12866, and to Congress and the GAO for CRA consideration, because it
27   contained a separate action by the National Highway Traffic Safety Administration that was a
     “rule.” 84 Fed. Reg. at 51,352, 51,353. By contrast, EPA repeatedly reaffirmed its position that
28   the waiver portion of the notice was not a rule. Id. at 51,352, 51,353, 51,360.
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 1   Agency—Applicability of the Congressional Review Act to Notice of Decision on Clean Air Act
 2   Waiver of Preemption 5 (Nov. 30, 2023) (Exh. A). Specifically, the GAO determined that a
 3   waiver decision “mak[es] a ‘final disposition’ granting California a ‘form of permission’ which
 4   meets the definition of order under APA.” Id. (quoting 5 U.S.C. § 551(6), (8), (9)).
 5         67.   Members of both the Senate and the House also indicated—as recently as last year—
 6   that they understood that EPA’s preemption waiver decisions are not rules. When he introduced a
 7   bill to repeal the Clean Air Act’s waiver provision, in September 2024, Senator Mike Lee
 8   expressly acknowledged that Clean Air Act preemption waivers “cannot be reviewed under the
 9   Congressional Review Act (CRA)” because they are not “rule[s] as that term is defined in the
10   CRA.” Mike Lee, Stop CARB Act One Pager (118th Congress) (emphasis omitted). 14 That
11   bill—S.5038, 118th Cong. (2024)—had five co-sponsors in the Senate. 15 Representative Troy
12   Nehls likewise acknowledged that “none of [California’s waivers] are subject to congressional
13   review” when he introduced the companion bill in the House. Rep. Troy Nehls Introduces the
14   Stop CARB Act (Sept. 12, 2024). 16 That bill—H.R. 9574, 118th Cong. (2024)—had nine co-
15   sponsors in the House. 17
16         68.   Consistent with those understandings (including its own longstanding view), EPA did
17   not follow rulemaking procedures when considering these California waiver requests. It did not,
18   for example, issue a proposed rule, or even a proposed disposition of California’s request, when it
19   solicited public comment. Instead, EPA followed its traditional practice, providing notice to the
20   public that it had received a waiver request from California and would provide “opportunity for
21   public hearing and comment” on the three findings the waiver provision empowers EPA to make.
22   E.g., 88 Fed. Reg. 88,908, 88,909 (Dec. 26, 2023).
23         69.   When it finalized the waiver decisions at issue here, EPA reiterated its longstanding
24   position that “the Congressional Review Act, 5 U.S.C. 801 et seq., … does not apply because this
25

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            14
               Available at https://perma.cc/LNG5-45AW, last visited May 4, 2025.
27          15
               See https://www.congress.gov/bill/118th-congress/senate-bill/5038/cosponsors.
            16
               Available at https://perma.cc/55TB-737M, last visited May 4, 2025.
28          17
               See https://www.congress.gov/bill/118th-congress/house-bill/9574/cosponsors.
                                                    16
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 1   action is not a rule, for purposes of 5 U.S.C. 804(3).” E.g., 88 Fed. Reg. 20,688, 20,726 (Apr. 6,
 2   2023).
 3         70.     EPA did not submit these waivers to Congress when they were published in the
 4   Federal Register—one in April 2023 and two in January 2025. Any member of Congress could
 5   have asked the GAO to determine whether these unsubmitted actions were rules subject to the
 6   CRA. No member of Congress did so.
 7   IV.   The Trump Administration Implements a CRA Playbook, Without Providing
           Any Legal Rationale and Without Any Administrative Process
 8
           71.     President Trump took aim at parts of California’s vehicle emission program, from the
 9
     very beginning of his second term. He signed a day-one Executive Order that declared “state
10
     emissions waivers that function to limit sales of gasoline-powered automobiles” should be
11
     “terminat[ed].” 18
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           72.     That Executive Order directed federal agencies (including EPA) to “identify …
13
     agency actions … inconsistent with” the Order and to “develop and begin implementing action
14
     plans to suspend, revise, or rescind all [such] agency actions.” Id. Thus, at the outset, it appeared
15
     that the Trump Administration intended to take administrative action to rescind certain waivers
16
     (or parts thereof), as the first Trump Administration had done. See 84 Fed. Reg. 51,310 (Sept. 27,
17
     2019) (“EPA announces its decision to withdraw the waiver” for certain California emission
18
     standards).
19
           73.     The Administration changed course on February 14, 2025, when President Trump and
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     EPA Administrator Zeldin “announced in the Oval Office … that the EPA [would] transmit[] to
21
     Congress,” for CRA consideration, the three waiver decisions at issue. 19 In so doing, the
22
     President and EPA Administrator appeared to be following a playbook as to “how the incoming
23
     Trump administration” could use the CRA to “stop” the State’s efforts to reduce vehicular
24
     pollution, without following “the administrative process” which could “take years” and without
25

26            18
                Unleashing American Energy Executive Order (Jan. 20, 2025), available at
     https://perma.cc/33NL-LQKE, last visited May 5, 2025.
27           19
                EPA, Trump EPA to Transmit California Waivers to Congress in Accordance with
     Statutory Reporting Requirement (Feb. 14, 2025), available at https://perma.cc/GDF5-HVM2, last
28   visited May 5, 2025.
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 1   employing “ordinary legislation [which] would have to overcome the 60-vote filibuster in the
 2   Senate.” See supra n.2.
 3           74.    The Administration’s announcement provided no explanation for EPA’s about-face
 4   from its longstanding prior position that waiver decisions are not rules, much less rules of general
 5   applicability subject to the CRA. See supra n.19. Indeed, the announcement did not even
 6   acknowledge that EPA had always treated waiver decisions as adjudicatory orders, including in
 7   the very actions at issue. See id. Nor did EPA provide any public process leading up to the
 8   announcement of the purported reclassification of these waivers from orders to rules.
 9           75.    The Administration’s announcement likewise did not explain how the submission of
10   these waiver decisions was consistent with the CRA, given that all of the waivers had already
11   “take[n] effect” and one of the waivers had been published in the Federal Register almost two
12   years earlier. See 5 U.S.C. § 801(a)(1)(A).
13           76.    Nonetheless, some members of Congress indicated they, too, were prepared to follow
14   the CRA playbook (again without establishing the statute’s applicability), responding to the
15   Administration’s announcement by asserting that “the Trump EPA’s” submission of “these
16   waivers, [would give] Congress the opportunity to reject California’s effort to impose its EV
17   mandate on all Americans.” 20 The only “rules” referenced were California’s state rules, not
18   federal ones, and these statements failed to acknowledge that California’s regulations only apply
19   in California (and other States that so choose), much less to accurately describe California’s
20   regulations, including the many provisions that require reduced emissions from gasoline- or
21   diesel-fueled vehicles.
22           77.    EPA then submitted the three waivers at issue to the GAO and Congress on February
23   19, 2025. See GAO Letter B-337179, Observations Regarding the Environmental Protection
24   Agency’s Submission of Notices of Decision on Clean Air Act Preemption Waivers as Rules
25   Under the Congressional Review Act 1 & n.1 (March 6, 2025) (Exh. B). Neither EPA nor the
26

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              20
                   @EPWGOP, X, https://perma.cc/5WMM-DQVJ (Feb. 14, 2025), last visited May 11,
28   2025.
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 1   President made that submission public, although Administrator Zeldin claimed EPA was taking
 2   this action to “transparently correct[]” prior errors. See supra n.19.
 3   V.    The GAO Determines (Again) that Waiver Decisions Are Not Subject to the
           CRA
 4
           78.     Upon receipt of EPA’s submission, the GAO observed that the waiver “notices
 5
     themselves stated that CRA did not apply” and that EPA had not explained “why the agency was
 6
     submitting the notices under the CRA.” Exh. B at 2, 6. In fact, EPA’s February 19 submission
 7
     described the waiver decisions as “actions” and “Notice[s] of Decisions,” rather than rules. The
 8
     GAO thus “reached out to EPA on February 20, 2025, for clarification.” Id. at 2.
 9
           79.     On February 21, 2025, three Senators—including both Senators from California—
10
     requested that the GAO provide its legal opinion about whether these three waivers were rules
11
     subject to the CRA. See id. at 1.
12
           80.     On February, 25, 2025, the GAO followed up on its initial outreach to EPA, sending
13
     “a formal letter … seeking factual information and the agency’s legal views on this matter.” Id.
14
     at 2. EPA “resubmitted the Notices of Decision to GAO on February 27, 2025” but “still did not
15
     address the statements in the notices regarding the inapplicability of the CRA.” Id.
16
           81.     Some members of Congress welcomed EPA’s submission but, like EPA, failed to
17
     articulate a legal basis for treating waiver decisions as rules. Rather, they asserted that the
18
     agency’s submission—by itself—could transform into rules these actions that had been
19
     considered and finalized by EPA as orders: “Once they submitted it to us, it’s a rule. … [And]
20
     we can take it down.” Times of San Diego, Republicans in Congress Are Preparing to Break
21
     Decades of Precedent to Block Climate Policy (Feb. 27, 2025) (quoting Senator Capito). 21
22
           82.     On March 5, 2025, EPA submitted a revised version of its report to Congress. In this
23
     version, EPA altered the labels it applied to the waiver decisions, referring to them as “final
24
     rules,” instead of “actions” or “Notice[s] of Decision” as in the initial February 19 report. EPA
25
     still provided no explanation for the change.
26

27

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                 Available at https://perma.cc/9VHE-RTB4, last visited May 11, 2025.
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 1         83.      On March 6, 2025, the GAO issued its legal analysis, concluding (as before) that
 2   waiver actions are not subject to the CRA. Exh. B at 9. Again, the GAO concluded that these
 3   three waiver decisions meet “the APA definition of an order,” not of a rule, because they make
 4   preemption determinations—i.e., “‘final disposition[s]’ granting California a ‘form of permission’
 5   as described in the APA definition” of “order.” Id. at 6 (quoting 5 U.S.C. § 551(6)).
 6         84.      The GAO also reiterated its prior conclusion that, even if waiver decisions were rules,
 7   they would still not be subject to the CRA because they are not rules of general applicability.
 8   Instead, the GAO concluded, waiver decisions “concern[] a specific entity—California—and
 9   address[] a statutory waiver specific to California’s [program].” Id.
10   VI.   Congressional Leadership Considers Moving Forward with the Resolutions,
           Despite GAO’s Determination that the CRA Was Inapplicable
11
           85.      About a month later, and despite the GAO’s reaffirmation that the CRA does not
12
     apply to Clean Air Act preemption waivers, members of the House introduced the Resolutions—
13
     each targeting one of the three preemption waivers at issue. H.J. Res. 87, 88, 89 (introduced
14
     April 2, 2025).
15
           86.      Some Senate leaders also signaled an interest in disregarding the GAO’s
16
     determination. For example, Senator Capito—Chairman of the Senate Committee on
17
     Environment and Public Works—responded to the GAO’s determination by stating “that these
18
     waivers are rules, and subject to a resolution of disapproval under the Congressional Review
19
     Act.” Alex Nieves, There’s hope for the waivers still (Mar. 20, 2025). 22
20
           87.      No legal justification for using the CRA was provided, however. No public
21
     statements identified any errors in the GAO’s reasoning or otherwise articulated a legal rationale
22
     for concluding that these waivers fit the statutory definition of a rule (or were generally
23
     applicable).
24
           88.      Meanwhile, industry advocates—including those who first publicized the CRA
25
     playbook—maintained that the GAO’s determination and, indeed, the statutory definition of
26
     “rule,” were all irrelevant. Buschbacher & Conde, Congress Has the Authority to Review EPA
27
            22
               Available at https://www.politico.com/newsletters/california-climate/2025/03/20/theres-
28   hope-for-the-waivers-still-00242123, last visited May 11, 2025.
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 1   “Waivers” of Clean Air Act Preemption, Yale J. Reg. (Mar. 5, 2025) (arguing “that the CRA’s
 2   text … do[es] not bind”). 23 Under that view, the only thing that mattered was EPA’s submission
 3   of the waiver decisions to Congress because “the CRA gives Congress unchallengeable power to
 4   invalidate any action that an agency submits for review.” Id.
 5   VII. The Senate Parliamentarian Also Concludes that these Waiver Decisions Are
          Not Properly Subject to the CRA
 6
           89.   The question of the CRA’s applicability was then presented to the Senate
 7
     Parliamentarian, “the sole definitive arbiter[] of the CRA parliamentary mechanism” in that
 8
     chamber. Congressional Research Service, The Congressional Review Act (CRA): Frequently
 9
     Asked Questions, 18 (Updated Nov. 12, 2021); 24 see also Jonathan S. Gould, Law Within
10
     Congress, 129 Yale L. J. 1946, 1959 (2020) (“The parliamentarians are the primary interpreters
11
     of the rules governing Congress.”).
12
           90.   After hearing arguments on both sides, the Senate Parliamentarian agreed with the
13
     GAO that waiver decisions are not subject to the CRA. Although her decision was not made
14
     public, it was widely reported as occurring on April 4, 2025. Lisa Friedman, Republican Plan to
15
     Kill California’s E.V. Policies Hits Senate Snag (April 4, 2025). 25
16
           91.   That should have been the end of it because “in the ordinary course of business,
17
     Congress’s procedural rules—and the parliamentarians’ interpretations of those rules—are as
18
     good as binding.” Law Within Congress at 1958. Senate Majority Leader John Thune had agreed
19
     as recently as January 2025, responding to questions about possibly overriding the Senate
20
     Parliamentarian with “[w]e can’t go there.” Russell Payne, The Senate parliamentarian could
21
     block some of Trump’s agenda — and be a scapegoat for Republicans (January 9, 2025). 26
22
           92.   But some members of Congress remained intent on using the CRA to invalidate these
23
     three waivers. Indeed, some immediately started “weighing whether to defy the parliamentarian
24
     [in order to] to reject California’s plans….” Kelsey Brugger, Senators weigh next moves on
25
            23
               Available at https://perma.cc/C8V5-9KFY, last visited May 11, 2025.
26          24
               Available at https://www.congress.gov/crs-product/R43992, last visited May 21, 2025.
            25
               Available at https://www.nytimes.com/2025/04/04/climate/california-ev-waiver-
27   senate.html, last visited May 22, 2025; see also https://perma.cc/A47L-KQEJ, last visited May
     21, 2025.
28          26
               Available at https://perma.cc/B8K5-CLCZ, last visited May 10, 2025.
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 1   California clean car rules (April 10, 2025). 27 The attack continued to focus on the parts of
 2   California’s program that allegedly “ban gas-powered cars and trucks,” again failing to
 3   acknowledge that other parts of the state program were authorized by these waivers. See supra
 4   n.26.
 5   VIII. Congress Adopts the Resolutions, Flouting the GAO and Parliamentarian’s
           Rulings
 6
             93.   Despite the GAO and Senate Parliamentarian determinations, House members
 7
     proceeded to introduce the Resolutions targeting the three California waivers at issue. Kelsey
 8
     Brugger, House plows ahead with assault on California EPA waivers (Apr. 4, 2025). 28 The
 9
     public statements around this action again failed to address the fact that state emission regulations
10
     only apply in States that have chosen to adopt them. Id. (“The American people should choose
11
     what vehicle is right for them, not California bureaucrats.”). These statements likewise failed to
12
     reconcile claims about the impacts of these waivers with EPA’s position—in the very reports it
13
     submitted to Congress—that these were not “major rules,” meaning EPA did not expect these
14
     waiver decisions to cause “major increase[s] in costs or prices for consumers, individual
15
     industries, Federal, State, or local government agencies, or geographic regions” or “significant
16
     adverse effects on competition, employment, investment, productivity, [or] innovation.” See 5
17
     U.S.C. § 804(2).
18
             94.   The only explanation provided by House members for departing from the practice
19
     that “the GAO … has historically decided what can be considered a rule under the CRA” was the
20
     fact that EPA submitted the waivers to Congress. Id. (“‘By submitting the three California
21
     waivers to Congress, Administrator Zeldin is ensuring that Congress has oversight of these major
22
     rules that impact every American,’ [Energy and Commerce Chair] Guthrie said.”); see also
23
     Chairman Guthrie, Vice Chairman Joyce, and Energy and Commerce Republicans Introduce
24
     Legislation to Stop California EV Mandates. 29
25

26

27            27
                 Available at https://perma.cc/SX9T-AAQK, last visited May 11, 2025.
              28
                 Available at https://perma.cc/AD9Z-P7W7, last visited May 11, 2025.
28            29
                 Available at https://perma.cc/3UAM-QWWL, last visited May 21, 2025.
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 1         95.   The House later voted to adopt all three Resolutions, targeting the Advanced Clean
 2   Trucks and Omnibus waivers on April 30, 2025, and the Advanced Clean Cars II waiver on May
 3   1, 2025. Camila Domonoske, The House Strikes a Blow Against California in the Fight over EVs
 4   (May 1, 2025). 30
 5         96.   No member or committee of the House provided any legal rationale for concluding
 6   that waiver decisions are federal agency rules of general applicability that could be subject to the
 7   CRA. Nor did any members of the House who had previously expressed the opposite view
 8   explain their change of position. Instead, after the House votes, the sponsors of the Resolutions
 9   continued to attribute Congress’s ability to use the CRA here solely to the actions of the
10   Executive Branch. E.g., Congressmen Brett Guthrie, John Joyce, John James, and Jay Obernolte,
11   How Congress Is Fighting Biden’s Disastrous EV Mandate (May 2, 2025). 31
12         97.   At least one press outlet described the House’s decision to “hold[] the votes
13   anyway”—despite the GAO and Senate Parliamentarian determinations—as “demonstrating that
14   they are willing to carry out their agenda regardless of whether the nonpartisan arbiter deems
15   them legal.” Rachel Frazin, House votes to overturn California gas car ban — again defying
16   internal watchdog. 32
17         98.   Leaders in the Senate also ultimately decided to proceed with votes on the
18   Resolutions, disregarding GAO’s legal conclusion and overriding the Senate Parliamentarian’s
19   determination that the CRA was inapplicable. E&E News, Senate GOP Plots Demise of
20   California Clean Car Rules (May 20, 2025). 33 Yet again, the announcements provided no basis
21   for any disagreement with the GAO and Parliamentarian’s legal conclusions.
22         99.   In justifying the decision to “defy the chamber’s parliamentarian,” Senate Majority
23   Leader Thune asserted that “‘widespread effects’” make preemption waivers rules, without
24   reference to the definition of a rule, without acknowledging that any “widespread effects” result
25   from choices by state governments, and without explaining how waiver decisions do anything
26
            30
               Available at https://perma.cc/63NY-2KR9, last visited May 21, 2025.
27          31
               Available at https://perma.cc/DUL5-3VQS, last visited May 21, 2025.
            32
               Available at https://perma.cc/W7UY-CLGA, last visited May 11, 2025.
28          33
               Available at https://perma.cc/PKF2-4386, last visited May 22, 2025.
                                                   23
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 1   other than dispose of a request from California. Id. Senate Majority Whip John Barrasso
 2   likewise focused on alleged nationwide effects (and ignored the conventional vehicle provisions
 3   of these state regulations), claiming California’s laws would somehow “force-feed electric
 4   vehicles to every man and woman who drives in this country.” Id.
 5         100. When Senate Majority Leader Thune announced that he would override the
 6   Parliamentarian’s decision and proceed with the Resolutions, he did not explain how the Senate
 7   would do so, underscoring the unprecedented nature of this step. See id. (“It’s a little early to
 8   sketch and lay that out. But we have a process. We’re moving forward.”).
 9         101. The process to end-run the Parliamentarian became clear two days later when—on an
10   unrelated CRA resolution concerning a Department of Transportation (DOT) safety rule—Senate
11   Majority Leader Thune introduced a point of order for the Senate to determine “that points of
12   order are in order under the Congressional Review Act given sections 802(d)(1), 802(d)(2), and
13   802(d)(4) are in conflict with one another.” 34 That point of order was agreed to by a vote of 51 to
14   46.
15         102. Notably, section 802(d)(1) provides that “all points of order against the joint
16   resolution (and against consideration of the joint resolution) are waived,” meaning no such points
17   of order are permitted as to CRA resolutions. 5 U.S.C. § 802(d)(1). The passage of Senator
18   Thune’s point of order purported to change that and make any point of order permissible.
19         103. That change was necessary only to allow Senate Majority Leader Thune to introduce
20   a second point of order—one that would presumably have been impermissible without approval
21   of the first. This second point of order sought to establish that “Joint Resolutions that meet all the
22   requirements of Section 802 of the Congressional Review Act [are] entitled to expedited
23   procedures under the Congressional Review Act.” See supra n.34 (“Recent Floor Activity”).
24
            34
                See Recent Floor Activity, May 21, 2025, available at https://perma.cc/4RK3-L4ZU,
25   last visited May 23, 2025. “Points of order” are the mechanism by which “Senators may enforce
     the Senate’s legislative rules and precedents.” Congressional Research Service, Points of Order,
26   Rulings, and Appeals in the Senate 1 (updated Nov. 15, 2018), available at Points of Order,
     Rulings, and Appeals in the Senate | Congress.gov | Library of Congress, last visited June 8,
27   2025. When a member “believe[s] that one of those rules or precedents is, or is about to be,
     violated,” they introduce a point of order to obtain a decision whether or not the action of another
28   member would violate or have violated the Senate’s internal rules. Id.
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 1   Under this second point of order, the Senate could proceed to consider and vote on joint
 2   resolutions so long as a federal agency had submitted a report to Congress declaring that its action
 3   was a “rule,” regardless of whether the GAO and Senate Parliamentarian had concluded
 4   otherwise. In other words, the purpose of Majority Leader Thune’s second point of order was to
 5   change the trigger for the Senate’s CRA procedures so that agency submission alone sufficed,
 6   effectively rendering the statutory definition of “rule”—and any Senate Parliamentarian
 7   determinations concerning applicability of that definition—irrelevant.
 8         104. As Senator Whitehouse, the Ranking Member of the Senate Environment and Public
 9   Works Committee, noted “[t]he purpose” of these points of order was to “allow[] a bypass of the
10   Parliamentarian’s decision” that it was unlawful to apply the CRA to Clean Air Act preemption
11   waivers because they are not rules subject to the CRA. 117 Cong. Rec. S3025 (May 21, 2025)
12   (Exh. C).
13         105. Indeed, these points of order had no other purpose—and seemingly no other effect—
14   other than to evade the CRA’s express limitations that make it applicable only to certain federal
15   rules. Neither point of order was necessary for the proceeding into which the points of order were
16   introduced—the proceeding concerning the DOT CRA resolution. In other words, the Senate
17   Majority Leader introduced impermissible and entirely unnecessary points of order into the
18   Senate’s consideration of the DOT CRA resolution solely to enable the Senate to later vote on the
19   EPA waiver Resolutions without having to directly address the Parliamentarian’s contrary
20   determination.
21         106. The Presiding Officer—Senator Capito—confirmed the point when the Senate
22   proceeded to consider the Resolutions concerning the preemption waivers. She explicitly stated
23   that the Senate could only do so “[p]ursuant to the precedent just established by the Senate”—i.e.,
24   the second point of order just approved during proceedings concerning the DOT resolution. 117
25   Cong. Rec. S3052 (May 21, 2025) (Exh. C).
26         107. Those in favor of the Resolutions continued to mischaracterize California’s
27   regulations and the waivers that authorized them. For example, Senate Majority Whip Barrasso
28   asserted that “the Biden administration gave California—the liberal State of California—
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 1   permission to export its far-left electric vehicle mandate to the entire country.” 117 Cong. Rec.
 2   S3017 (May 21, 2025) (Exh.C); see also, e.g., id. at S3086-87 (Senator Capito inaccurately
 3   describing Advanced Clean Cars II as an “EV mandate”). All of these statements made clear that
 4   the regulatory requirements disfavored by the speakers were those designed and promulgated by
 5   California. No regulatory requirement designed or promulgated by any federal agency was ever
 6   identified.
 7         108. Those in favor of the Resolutions also made clear they were relying on the
 8   “submission by the Trump EPA” as the sole basis for application of the CRA’s expedited
 9   procedures. 117 Cong. Rec. S3087 (May 21, 2025) (Senator Capito describing agency
10   submission as sufficient to “trigger[] my right as a Senator to introduce this resolution to block
11   California’s EV mandate”) (Exh. C); see also id. at S3088 (repeatedly using the phrase “Agency-
12   submitted rules” rather than simply “rules”). Indeed, Senate leadership exclusively credited
13   “President Trump and EPA Administrator Lee Zeldin … submitting the approved California
14   waiver[s]” for the opportunity to use the CRA and to enact the Resolutions. Id. at S3807.
15         109. As noted, that was the full purpose and effect of Senate Majority Leader Thune’s
16   second point of order: to allow the Senate to proceed on the Resolutions simply because EPA
17   submitted CRA reports concerning the waiver decisions, without regard to EPA’s express, prior
18   conclusions in the Federal Register notices or the independent determinations of the GAO and
19   Senate Parliamentarian that these waiver decisions are not rules, and without any congressional
20   finding that these EPA actions are rules actually subject to the CRA. See also 117 Cong. Rec.
21   S3106 (May 22, 2025) (Exh. D) (“Before dinner yesterday, these bills to gut California’s Clean
22   Air Act authority were recognized as regular bills, subject to the filibuster rule requiring 60 votes
23   to move forward, open to full debate and amendments, but somehow, after dinnertime yesterday,
24   once Senate Republicans were done with overruling the Parliamentarian, these bills were now not
25   subject to the filibuster.”).
26         110. Nonetheless, throughout the Senate proceedings, advocates for the Resolutions
27   continued to acknowledge that, by its plain terms, the CRA “applies only to allow for disapproval
28   of Federal Agency rules and only during a prescribed time defined by the statute.” 117 Cong.
                                                    26
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 1   Rec. S3088 (May 21, 2025) (Exh. C). They also described the expedited Senate procedures as
 2   established “by law,” id. at S3087, although they had purported to alter the trigger for those
 3   procedures by a mere point of order.
 4         111. The next day, May 22, 2025, the Senate voted on each of the Resolutions and passed
 5   all three with votes of 51-45 (H.J. Res. 87, Advanced Clean Trucks), 51-44 (H.J. Res. 88,
 6   Advanced Clean Cars II), and 49-46 (H.J. Res. 89, Omnibus).
 7         112. EPA “hail[ed]” the Resolutions with a press release indicating that President Trump
 8   would sign them and again mischaracterizing the California regulations as an “EV Mandate.”
 9   EPA, EPA Hails Congressional Disapproval of Biden EPA’s California EV Mandate Rule (May
10   22, 2025). 35 EPA described the Resolutions as “maintaining a consistent national approach to
11   vehicle standards”—an approach the Clean Air Act explicitly rejects—and as preventing a “single
12   state” from imposing “its radical agenda.” Id.
13         113. The President signed the Resolutions on June 12, 2025.
14                                           CLAIMS FOR RELIEF
15                                                 COUNT I
                             Ultra Vires – Conduct in Excess of Statutory Authority
16                                          (Against All Defendants)
17         114. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
18   herein.
19         115. No statute empowers any of the Defendants to intentionally utilize a statute that is
20   inapplicable to these waiver decisions—as declared on the face of the actions—simply because it
21   provides a faster or easier, but unlawful, means to a desired end.
22         116. Certainly, no statute empowers Defendants to reclassify agency actions from
23   adjudicatory orders into rules after the actions are final and the agency proceedings are complete.
24   Nor does any statute empower any of the Defendants to take such actions without any public
25   process and without providing any explanation or justification for the reclassification.
26

27

28             35
                    Available at https://perma.cc/WW4C-Z4P7, last visited May 23, 2025.
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 1         117. Yet, that is precisely what President Trump and Administrator Zeldin purported to do
 2   by fiat in their February 14, 2025 Oval Office announcement and press release. Their post-hoc
 3   reclassification of these three waiver decisions from adjudicatory orders to rules was ultra vires.
 4         118. That reclassification was the sole basis for the submission of these waivers to
 5   Congress as “rules” subject to the CRA. The submission was also ultra vires because it had no
 6   lawful premise and because no statute empowers Defendants to recharacterize, much less
 7   mischaracterize, agency actions to Congress. Nor does any statute empower Defendants to do so
 8   after the agency action has gone into effect.
 9         119. Defendants took these ultra vires actions to provide a pretextual basis for the use of
10   the CRA to disapprove adjudicatory orders granting the three waivers at issue, and the
11   Resolutions would not have been enacted without that pretextual basis. The Resolutions thus
12   “stand[] or fall[] on the validity of the” actions taken by the President, EPA, and its
13   Administrator. See INS v. Chadha, 462 U.S. 919, 938 (1983).
14         120. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that Defendants
15   reclassification and submission actions were ultra vires and the resulting Resolutions are
16   unlawful, void, and of no effect.
17         121. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
18   enjoining EPA and its Administrator from giving the Resolutions any legal effect and from taking
19   similar actions as to other Clean Air Act adjudicatory orders.
20                                              COUNT II
                              Violation of the Administrative Procedure Act
21                        (Against the United States, EPA and Its Administrator)
22         122. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
23   herein.
24         123. Congress “enacted the APA as a check upon administrators whose zeal might
25   otherwise have carried them to excesses not contemplated in legislation creating their offices.”
26   Loper Bright Enters. v. Raimondo, 603 U.S. 369, 391 (2024) (internal quotation marks and
27   citation omitted).
28
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 1         124. EPA is an “agency” as defined in 5 U.S.C. § 551(1). Both the agency and its
 2   Administrator must follow the APA when it applies.
 3         125. The APA requires that a court “hold unlawful and set aside agency action, findings,
 4   and conclusions found to be . . . arbitrary, capricious, an abuse of discretion, or otherwise not in
 5   accordance with law,” “in excess of statutory jurisdiction, authority, or limitations, or short of
 6   statutory right,” or “without observance of procedure required by law.” 5 U.S.C. § 706(2)(A),
 7   (C), (D).
 8         126. In carrying out the purported reclassification of these adjudicatory orders into rules
 9   (and the follow-on submission to Congress), EPA and its Administrator (“EPA Defendants”)
10   failed to observe the procedures required by law and took arbitrary and capricious actions that
11   contravened core principles of reasoned decision-making.
12         127. Indeed, they followed no procedure at all. Administrator Zeldin simply referred to
13   the waiver decisions as “rules” in a press release. That does not suffice to reclassify an action
14   after it was finalized pursuant to the opposite view. See supra n.19. Agencies cannot supplant
15   earlier conclusions with “impermissible post hoc rationalization,” DHS v. Regents of the Univ. of
16   Cal., 140 S. Ct. 1891, 1908 (2020) (internal quotation marks and citation omitted), much less can
17   they do so by way of unsupported references in a press release, FCC v. Fox Television Stations,
18   Inc., 556 U.S. 502, 515 (2009). That the challenged agency actions—the reclassification and
19   submission—were taken without any process and without acknowledgment, let alone explanation,
20   for the change in position renders them unlawful—particularly given States’ reliance on these
21   waivers to protect public health and welfare. Id.
22         128. All of the EPA Defendants’ actions were predicated on a new (albeit implicit)
23   interpretation of the APA term “rule,” but that interpretation is contrary to the statute’s text.
24   EPA’s waiver decisions do not “implement, interpret, or prescribe law or policy” as rules do. 5
25   U.S.C. § 551(4).
26         129. That is clear from the nature of waiver proceedings which, pursuant to the Clean Air
27   Act’s text, do not begin with notices of proposed rulemaking. Rather, by congressional design, a
28   waiver proceeding commences with a request from California that includes a finding that the
                                                  29
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 1   State’s new motor vehicle emission standards “will be, in the aggregate, at least as protective of
 2   public health and welfare” as EPA’s federal standards. 42 U.S.C. § 7543(b)(1). EPA must then
 3   grant California’s waiver request, unless evidence supports one of three factual determinations
 4   that could support a denial. Id. § 7543(b)(1)(A)-(C).
 5         130. In contrast with its power to “prescribe” federal vehicle emission standards under a
 6   separate provision of the Clean Air Act (42 U.S.C. § 7521(a)(1)), EPA’s role “in a waiver
 7   proceeding” is thus “sharply restricted.” MEMA I, 627 F.2d at 1121. EPA does not determine the
 8   pollutants to be regulated, the stringency of the standards, or the speed with which standards
 9   increase in stringency. California makes all those choices in a state rulemaking proceeding,
10   before it submits a waiver request to EPA. For its part, EPA determines only whether any
11   “parties favoring denial of the waiver” have met their evidentiary burden to obtain that result. Id.
12         131. Put another way, it is California’s actions here (not EPA’s) that are “designed to
13   prescribe law”—namely, the emission standards and other requirements vehicle manufacturers
14   must meet in the State. 5 U.S.C. § 551(4) (defining “rule”). EPA issues an “order” as “a final
15   disposition” of California’s request; and that order—like a licensing decision—either grants or
16   denies California permission to engage in a course of conduct (i.e., enforcement of its regulatory
17   program). Id. §§ 551(6) (defining “order” and including “licensing”), 551(8) (defining “license”).
18         132. The EPA Defendants’ APA violations provided a pretextual basis for the use of the
19   CRA by the United States to disapprove these waivers, and the Resolutions would not have been
20   enacted without that pretextual basis. The Resolutions thus “stand[] or fall[] on the validity of
21   the” actions taken by the EPA Defendants. See Chadha, 462 U.S. at 938.
22         133. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
23   reclassification and submission actions, and the resulting Resolutions, are unlawful, void, and of
24   no effect.
25         134. Pursuant to 5 U.S.C. § 706, Plaintiffs are entitled to vacatur of EPA Defendants’
26   reclassification and submission actions.
27         135. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
28   enjoining EPA and its Administrator from giving the Resolutions any legal effect.
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 1                                               COUNT III
                                 Violation of the Congressional Review Act
 2                                           (Against All Defendants)
 3         136. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
 4   herein.
 5         137. By its own plain terms, the CRA does not apply to these waiver decisions because
 6   EPA’s waiver actions are orders, not rules, as defined by the APA (and incorporated in the CRA).
 7   And, even if waiver decisions were rules, they would still not be rules of general applicability that
 8   would be subject to the CRA. Until its post-hoc change of position here, EPA consistently
 9   maintained that waiver decisions are adjudicatory orders that dispose of California’s requests. It
10   reiterated that position in each of the three final orders here.
11         138. Based on EPA’s longstanding position (affirmed by the GAO) that these waiver
12   decisions are adjudicatory orders, not rules, EPA did not submit these waiver decisions to
13   Congress when it issued the orders. Notably, no member of Congress sought a determination
14   from the GAO that these decisions were rules, rather than adjudicatory orders. In other words, no
15   member of Congress sought to apply the CRA to these waiver decisions when the decisions
16   issued, although these decisions took effect upon issuance and the CRA is expressly intended to
17   apply before a rule takes effect.
18         139. When Defendants later changed positions and declared these decisions were rules
19   subject to the CRA, they never explained why. Most notably, Defendants identified no errors in
20   the legal analysis provided in the GAO’s 2023 determination that an earlier waiver decision was
21   not a rule subject to the CRA, although Congress had relied on that determination at the time by
22   declining to take up resolutions of disapproval.
23         140. The GAO and the Senate Parliamentarian—the nonpartisan arbiters that advise
24   Congress on the CRA’s applicability—concurred with the position EPA announced in these
25   waiver decisions: they are not rules and are, therefore, outside the scope of the CRA.
26         141. The CRA’s plain terms—the terms to which all fifty States consented—cabin its use;
27   and that purported use was unlawful here. Indeed, there was no “reasonable relation between the
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 1   mode or method of proceeding”—i.e., the CRA—“and the result which [the Federal Government]
 2   sought” here—i.e., rendering particular state rules unenforceable. United States v. Ballin, 144
 3   U.S. 1, 5 (1892).
 4         142. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
 5   Resolutions are unlawful, void, and of no effect.
 6         143. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
 7   enjoining EPA and its Administrator from giving the Resolutions any legal effect.
 8                                             COUNT IV
                                    Violation of the Take Care Clause
 9                          (Against President Trump, EPA, and Its Administrator)
10         144. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
11   herein.
12         145. Article II, Section 3 of the Constitution provides that the President—and pursuant to
13   his direction, the Executive Branch—“shall take care that the laws be faithfully executed.” U.S.
14   Const. art. II, § 3.
15         146. All Executive Branch Defendants were aware that the three waiver decisions at issue
16   are not rules, much less rules of general applicability, subject to the CRA. That had been EPA’s
17   consistent position since the enactment of the CRA, under Presidents of both parties. And EPA
18   reiterated that position in these very decisions. These Defendants were also aware that the
19   GAO—the non-partisan body that aids Congress in implementing the CRA—had concluded, in
20   2023, that Clean Air Act preemption waiver decisions are not rules and not subject to that statute.
21         147. The Executive Branch Defendants nonetheless declared, by press release, that these
22   actions were suddenly rules of general applicability subject to the CRA. They then submitted
23   these waiver decisions to Congress and the GAO for CRA action, claiming (without support) this
24   was “in accordance with statutory requirements.” See supra n.19. Notably, EPA had to submit
25   these waiver decisions to Congress twice because in the first submission, EPA correctly described
26   the decisions not as “rules,” but as “actions” and “Notice[s] of Decision.”
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 1         148. The Executive Branch Defendants purported to replace the statutory definition of
 2   “rule” with their own, unidentified one. These Defendants did so purely for purposes of using a
 3   statute they knew to be inapplicable—and one they hoped would preclude judicial review.
 4         149. The Executive Branch Defendants neither exercised care nor even attempted to
 5   faithfully execute the Nation’s laws, including the Clean Air Act, the APA, the CRA, and the
 6   Constitution.
 7         150. The Executive Branch Defendants’ failure to honor their constitutional duties were
 8   deliberate efforts to use—and enable Congress’s use—of the CRA to disapprove of these waivers.
 9   These actions were unconstitutional, and so, too, are the Resolutions that depend on them.
10         151. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
11   Resolutions are unlawful, void, and of no effect.
12         152. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
13   enjoining EPA and its Administrator from giving the Resolutions any legal effect.
14                                                COUNT V
                                      Violation of Separation of Powers
15                                        (Against All Defendants)
16         153. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
17   herein.
18         154. The “checks and balances” established in the Constitution “were the foundation of a
19   structure of government that would protect liberty.” Bowsher v. Synar, 478 U.S. 714, 722 (1986).
20   “The Framers provided a vigorous Legislative Branch and a separate and wholly independent
21   Executive Branch, with each branch responsible ultimately to the people.” Id. “The Framers also
22   provided for a Judicial Branch equally independent with “‘[t]he judicial Power ... extend[ing] to
23   all Cases, in Law and Equity, arising under this Constitution, and the Laws of the United States,’”
24   id. (quoting U.S. Const. Art. III, § 2), and expressly to those cases in which the United States or
25   one of the several States is a party, U.S. Const. Art. III, §§ 1, 2.
26

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 1         155. The Federal Government was “deliberately so structured to assure full, vigorous, and
 2   open debate on the great issues affecting the people and to provide avenues for the operation of
 3   checks on the exercise of governmental power.” Bowsher, 478 U.S. at 722.
 4         156. Using its lawmaking powers, Congress expressly cabined the CRA so it applies only
 5   to certain rules promulgated by federal agencies. E.g., 5 U.S.C. § 801(a)(1)(A); id. § 804(3)
 6   (defining “rule[s]” to which CRA applies). Congress could, of course, use those same lawmaking
 7   powers to amend the CRA—for example, by changing the trigger for its application or by
 8   changing the definition of “rule.” It did not do so here, however.
 9         157. Instead, Congress opted to proceed as though the term “rule” had a different
10   definition than the one in 5 U.S.C. § 804(3) or was entirely irrelevant to the statutory scheme.
11   Specifically, Congress relied exclusively on the submission of a report from EPA characterizing
12   the waiver decisions as rules as a sufficient trigger for application of the CRA. The Senate did so
13   explicitly in its second point of order. See supra ¶¶ 103-106. The House did so as well by
14   proceeding to vote on the Resolutions, although CRA resolutions are only proper as to certain
15   federal rules (as defined in the statute), and although no one offered any credible basis for
16   disagreeing with EPA’s stated position in these Federal Register notices (affirmed by the GAO
17   and Senate Parliamentarian) that these waiver decisions do not fit that definition.
18         158. Each chamber improperly delegated its constitutional authority “to determine the
19   Rules of its Proceedings,” U.S. Const., art. I, § 5, cl. 2, to the Executive Branch. Both chambers
20   purported to employ their rules for CRA resolutions based exclusively on mere statements by the
21   Executive Branch—no matter how spurious—that these orders were rules of the sort subject to
22   the CRA.
23         159. Maintaining separation of powers for congressional procedural rules is no less
24   important than maintaining that separation for more substantive powers. “The Constitution … is
25   concerned with means as well as ends.” Horne v. Dep't of Agric., 576 U.S. 350, 362 (2015). “To
26   leave this aspect of the constitutional structure alone undefended would serve only to accelerate
27   the flight of power from the legislative to the executive branch, turning the latter into a vortex of
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 1   authority that was constitutionally reserved for the people’s representatives in order to protect
 2   their liberties.” Gundy v. United States, 588 U.S. 128, 169 (2019) (Gorsuch, J., dissenting).
 3         160. And, as James Madison reiterated, quoting “the famous warning of Montesquieu,”
 4   “‘there can be no liberty where the legislative and executive powers are united in the same
 5   person, or body of magistrates.’” Bowsher, 478 U.S. at 721–22 (quoting The Federalist No. 47, p.
 6   325 (J. Cooke ed. 1961)).
 7         161. The rules Congress adopts for its own proceedings cannot “ignore constitutional
 8   restraints,” and Congress is responsible, in the first instance, for ensuring there is “a reasonable
 9   relation between the mode or method of [its] proceeding … and the result which is sought to be
10   attained.” NLRB v. Noel Canning, 573 U.S. 513, 551 (2014) (quoting United States v. Ballin, 144
11   U.S. 1, 5 (1892)).
12         162. It matters not that Congress’s abdication of its internal rulemaking powers reflected
13   the preferences (in favor of the use of the CRA) of majorities in Congress. Separation of powers
14   problems are not erased simply because “the encroached-upon branch approves the
15   encroachment.” Free Enter. Fund v. Pub. Co. Acct. Oversight Bd., 561 U.S. 477, 497 (2010)
16   (quoting New York v. United States, 505 U.S. 144, 182 (1992)).
17         163. Congress’s decision to allow the Executive Branch to be the sole arbiter of what the
18   definition of “rule” means under the APA and CRA also unconstitutionally intruded on the
19   judiciary’s Article III power “to say what the law is.” Marbury v. Madison, 5 U.S. 137, 177
20   (1803); U.S. Const. art. III, § 2.
21         164. So, too, did Congress’s direction that preexisting federal law preempts particular state
22   laws, where Congress failed to legislatively change the legal standard for that preemption. Put
23   another way, Congress may not enact “a statute [that] would create no new substantive law” but
24   “instead direct the court how pre-existing law applies to particular circumstances.” Bank Markazi
25   v. Peterson, 578 U.S. 212, 226 n.17 (2016).
26         165. In these waiver decisions, EPA exercised “the type of nonpolicymaking adjudicatory
27   power[] typically exercised by a court in the agency-review context,” Martin v. Occupational
28   Safety & Health Review Comm’n, 499 U.S. 144, 154 (1991), by pronouncing that particular laws
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 1   are not preempted by the Clean Air Act. EPA’s adjudicatory orders were the subject of pending
 2   litigation at the time the Resolutions were introduced and voted on.
 3         166. The Resolutions “fail[] to supply any new legal standard effectuating the lawmakers’
 4   [new] policy judgment,” Bank Markazi, 578 U.S. at 231, that the relevant state laws should be
 5   preempted by federal law. Indeed, by applying the CRA—a statute designed to allow for
 6   rescission of new federal law made by the Executive Branch—beyond its bounds, Congress did
 7   not make law. Rather, it disapproved the Executive Branch’s application of existing law to a
 8   particular factual record, ignoring both that the Executive Branch had acted within its powers in
 9   carrying out existing law and that the Judiciary might well agree with EPA’s decisions and is
10   entitled to say so.
11         167. “The hydraulic pressure inherent within each of the separate Branches to exceed the
12   outer limits of its power, even to accomplish desirable objectives, must be resisted.” Chadha, 462
13   U.S. at 951. The Federal Government may not violate separation of powers principles, as it did
14   here, even when doing so makes achieving desired objectives easier.
15         168. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
16   Resolutions are unlawful, void, and of no effect.
17         169. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
18   enjoining EPA and its Administrator from giving the Resolutions any legal effect.
19                                           COUNT VI
               Violation of the Tenth Amendment and Structural Principles of Federalism
20                                     (Against All Defendants)
21         170. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
22   herein.
23         171. A “fundamental limitation that the constitutional scheme imposes on the Commerce
24   Clause to protect the ‘States as States’ is one of process.” Garcia, 469 U.S. at 554. Thus, courts
25   may—and indeed must—intervene “to compensate for possible failings in the national political
26   process” that infringe on the States as States. Id. And that is not the only “affirmative limit[] the
27   constitutional structure might impose on federal action affecting the States under the Commerce
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 1   Clause.” South Carolina, 485 U.S. 505, 528 (1988) (Scalia, J, concurring in part) (quoting
 2   Garcia, 469 U.S. at 556).
 3         172. These Resolutions were enacted only because both the Executive and Legislative
 4   Branches opted to flout settled procedures and the plain text of the CRA (to which all States
 5   consented). The Executive Branch began this unprecedented maneuver when, without any
 6   process or explanation, it issued a blatantly unlawful post-hoc declaration that the three
 7   adjudicatory orders at issue were suddenly rules. With the President’s imprimatur, Congress then
 8   compounded the errors, opting to disregard and overrule the reasoned decisions of both the GAO
 9   and the Senate Parliamentarian, although those decisions are ordinarily treated as dispositive.
10         173. By purporting to use the CRA (despite its clear inapplicability), the Federal
11   Government blasted gaping holes in longstanding state regulatory programs without any of the
12   procedural mechanisms—such as rigorous debate and state official testimony—that serve to
13   inform members of Congress about the consequences of their actions. In the push to end the
14   alleged “electric vehicle fantasy,” for example, state regulations that require crucial emission
15   reductions from gasoline- and diesel-fueled vehicles got swept in for termination too.
16         174. In so doing, the Federal Government also effectively changed the substantive criteria
17   applicable to a California waiver request retroactively—years after California submitted its
18   requests (and in one instance years after EPA acted on that request). The Federal Government
19   also created uncertainty about how it will apply the waiver provision’s statutory criteria to future
20   waiver requests.
21         175. Put simply, the Federal Government carried out an illegal playbook designed to evade
22   lawful procedures that might prevent the “take down” of disfavored California laws. The Federal
23   Government cast aside expert legal opinions and the plain text of the CRA in order to extend that
24   statute’s expedited procedures beyond the bounds to which all States agreed. Defendants
25   provided no opportunity for California, or the public, to participate in crucial parts in this scheme.
26   And Defendants and congressional leadership chose to use the CRA here precisely because, when
27   that statute applies, it severely limits debate, avoids the filibuster, and contains a barrier to
28   judicial review. Those features further prevented Plaintiff States from defending their own state
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 1   laws in the political process; and the Federal Government seeks to prevent Plaintiff States from
 2   obtaining relief in the courts.
 3          176. The Framers designed a Federal Government that would “be disinclined to invade the
 4   rights of the individual States, or the prerogatives of their governments.” Garcia, 469 U.S. at 551
 5   (quoting The Federalist No. 46, at 332 (B. Wright ed. 1961)). These Resolutions required an end-
 6   run around that design. The numerous “extraordinary defects in the national political process”
 7   reflected in that end-run render the Resolutions “invalid under the Tenth Amendment” and the
 8   principles of federalism embedded in the Constitution’s structure. South Carolina, 485 U.S. at
 9   512.
10          177. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
11   Resolutions are unlawful, void, and of no effect.
12          178. Pursuant to 28 U.S.C. §§ 2201, 2202, Plaintiffs are entitled to injunctive relief,
13   enjoining EPA and its Administrator from giving the Resolutions any legal effect.
14
                                            COUNT VII
15                Nonstatutory Review: Violations of Federal Law by Federal Officials
16                                    (Against All Defendants)
            179. Plaintiffs incorporate each and every one of the preceding allegations as if alleged
17
     herein.
18
            180. Federal courts possess inherent equitable power to grant injunctive and declaratory
19
     relief “with respect to violations of federal law by federal officials,” Armstrong v. Exceptional
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     Child Ctr., 575 U.S. 320, 326–27 (2015), among them violations that themselves contravene the
21
     structural principles of the Constitution, see Free Enter. Fund, 561 U.S. at 491–92 n.2, or actions
22
     premised on legislation that does.
23
            181. The President, EPA, and its Administrator have stated definitely that the state
24
     regulations at issue here, including the Advanced Clean Cars II, Advanced Clean Trucks, and
25
     Omnibus regulations, became preempted and unenforceable upon enactment of the respective
26
     Resolutions and are now preempted and unenforceable.
27
            182. Each of the Resolutions is unlawful and unconstitutional.
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 1         183. Because the Resolutions are unlawful, unconstitutional and void, the preemption
 2   waivers granted for California’s addition of the state regulations at issue, including the Advanced
 3   Clean Cars II, Advanced Clean Trucks, and Omnibus regulations, to the State’s regulatory
 4   program are valid and in effect.
 5         184. Because these preemption waivers are valid and in effect, Plaintiffs are entitled to an
 6   injunction against EPA and its Administrator to prohibit the rejection of certifications of vehicle
 7   or engine manufacturer compliance with the state regulations at issue—including the Advanced
 8   Clean Cars II, Advanced Clean Trucks, and/or Omnibus regulations—as compliant with federal
 9   Clean Air Act standards under 42 U.S.C. § 7543(b)(3).
10         185. Because these preemption waivers are valid and in effect, Plaintiffs are entitled to an
11   injunction against EPA and its Administrator to prohibit their taking other actions to implement
12   or give legal effect to the Resolutions.
13         186. Because these preemption waivers are valid and in effect, Plaintiffs are entitled to an
14   injunction against EPA and its Administrator to prohibit interference with Plaintiffs’ enforcement
15   of any state law on the ground that one or more of the Resolutions resulted in preemption of that
16   state law.
17         187. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that the
18   Resolutions are unlawful, void, and of no effect.
19         188. Pursuant to 28 U.S.C. § 2201, Plaintiffs are entitled to a declaration that any action by
20   Defendants premised on validity of the unconstitutional Resolutions is itself unlawful, void, and
21   of no effect.
22                                        PRAYER FOR RELIEF
23
           WHEREFORE, Plaintiffs State of California, et al. respectfully request that this Court
24
           1.     Declare the Resolutions unconstitutional, unlawful, void, and of no effect;
25
           2.     Declare that the three preemption waivers at issue are valid and in effect;
26
           3.     Declare that any action by Defendants premised on validity of the Resolutions is
27
     unlawful, void, and of no effect;
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 1         4.      Enjoin EPA and its Administrator from taking any action to implement or give legal
 2   effect to the Resolutions;
 3         5.      Enjoin EPA and its Administrator from rejecting certifications of vehicle or engine
 4   manufacturer compliance with the state regulations for which EPA waived Clean Air Act
 5   preemption in the decisions at issue, including the Advanced Clean Cars II, Advanced Clean
 6   Trucks, and Omnibus regulations, as compliant with federal Clean Air Act standards under 42
 7   U.S.C. § 7543(b)(3);
 8         6.      Enjoin EPA and its Administrator from interfering with Plaintiffs’ enforcement of
 9   any state law on the ground that one or more of the Resolutions resulted in preemption of that
10   state law;
11         7.      Declare the reclassification and submission of the three preemption waiver decisions
12   as federal agency rules ultra vires, unconstitutional, and unlawful;
13         8.      Vacate EPA’s reclassification of the three preemption waiver decisions as federal
14   rules and the submission of those decisions as rules to Congress;
15         9.      Declare that the CRA does not apply to EPA waiver decisions under 42 U.S.C. §
16   7543(b)(1);
17         10.     Enjoin EPA and its Administrator from transmitting these or other Clean Air Act
18   waiver decisions under 42 U.S.C. § 7543(b)(1) to Congress for consideration under the CRA;
19         11.     Grant such other relief as the Court deems just and proper.
20

21   Dated: June 12, 2025                                   Respectfully submitted,
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20

21
     Pursuant to Local Rule 5-1(i), I attest that all signatories to this document concurred in its filing.
22
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